106 F.3d 393
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff--Appellee,v.Donavon Ray NICHOLS, Defendant--Appellant.
    No. 96-7019.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 9, 1996.Decided Jan. 23, 1997.
    
      Appeal from the United States District Court for the Southern District of West Virginia, at Huntington.  Robert J. Staker, Senior District Judge.  (CR-94-21, CA-96-41-3)
      Donavon Ray Nichols, Appellant Pro Se.
      Paul Thomas Farrell, Assistant United States Attorney, Huntington, West Virginia, for Appellee.
      Before HALL and MICHAEL, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his motion under 28 U.S.C. § 2255 (1994), as amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1214.  We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge and find no reversible error.  Accordingly, we deny a certificate of appealability and dismiss on the reasoning of the district court.  United States v. Nichols, Nos.  CR-94-21;  CA-96-41-3 (S.D.W.Va. May 20, 1996).  We deny Appellant's motion for appointment of counsel and dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    